Case 4:23-cr-40046-KES    Document 38    Filed 02/26/24   Page 1 of 2 PageID #: 78




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           4:23-CR-40046-KES

                   Plaintiff,

                                             REPORT AND RECOMMENDATION
      vs.

JEFFREY MICHAEL BAKER,

                   Defendant.



      This matter came before the court for a change of plea hearing on

Monday, February 26, 2024. The defendant, Jeffrey Michael Baker, appeared

in person and by his counsel, Ron Volesky. The United States appeared by its

Assistant United States Attorney.

      The defendant consented in open court to the change of plea before a

United States Magistrate Judge. This court finds that the defendant’s consent

was voluntary and upon the advice of counsel. The government also consented

to the plea hearing before a magistrate judge. Further, the parties waived their

right to object to the report and recommendation.

      Defendant has reached a plea agreement wherein he intends to plead

guilty to count 1 of the indictment which charges him with distribution of a

controlled substance in violation of 21 U.S.C. § 841(a)(1). At the hearing, the

defendant was advised of the nature of the charges to which the defendant
Case 4:23-cr-40046-KES    Document 38        Filed 02/26/24   Page 2 of 2 PageID #: 79




would plead guilty and the maximum penalties applicable, specifically: 5 years’

mandatory minimum and up to 40 years’ imprisonment; a $5 million fine; or

both; a mandatory minimum of 4 years and up to lifetime on supervised

release; an additional 3 years’ imprisonment if supervised release is revoked

(which could be followed by additional periods of supervised release);

restitution; and a $100 special assessment.

      Upon questioning the defendant personally in open court, it is the finding

of the court that the defendant is fully competent and capable of entering an

informed plea, that the defendant is aware of the nature of the charges and the

consequences of the plea, and that his plea of guilty to count 1 of the

indictment is a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offense. It is my report

and recommendation that the defendant’s plea of guilty be accepted and that

he be adjudged guilty of that offense.

      DATED this 26th day of February, 2024.

                                      BY THE COURT:



                                      VERONICA L. DUFFY
                                      United States Magistrate Judge




                                         2
